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                                                         Exhibit A to the Complaint
Location: New York, NY                                                                              IP Address: 71.167.84.28
Total Works Infringed: 27                                                                           ISP: Verizon Fios
 Work      Hashes                                                               UTC          Site          Published     Registered   Registration
 1         Info Hash: FE489257524EBD9BF2822D3141896384CF645292                      01-30-   Blacked       10-15-2022    11-01-2022   PA0002378073
           File Hash:                                                                 2023
           D63F25214F36BBCA9DDB40C18E2258F16A565C81E26465135423055535B09F0C       00:33:23
 2         Info Hash: 3ECF976FFA90A0647A4340EA36B2C15CDBFC7837                      01-30-   Blacked       04-05-2017    06-05-2017   PA0002052859
           File Hash:                                                                 2023
           9AB51F398B9C6A59279B5621ECF9F7967F2D7D56E2D96BC4F3DAACDCCD7EA1E8       00:33:21
 3         Info Hash: 58A25091CD7082C8A3F23D06588884E6627754CB                      01-29-   Blacked       08-08-2022    08-30-2022   PA0002367749
           File Hash:                                                                 2023   Raw
           A1B09A0C5890A45281A3C26F4EA4F23147E86DFE704B592DCAC3FAAFD5F30B64       21:28:44
 4         Info Hash: DB25C1AFC98ABE72B6A66D2CA4A0851A9D5BAA35                      01-29-   Blacked       07-30-2022    08-30-2022   PA0002367742
           File Hash:                                                                 2023
           4A38153B9CF11AB12B9AD611A0289ED909AEAA431D16BE3731AC2E300C9F126E       21:28:36
 5         Info Hash: 36C0BB5D4C2CD6CFF223BCE81E27EEA1B5601DA5                      01-29-   Blacked       08-06-2022    08-29-2022   PA0002367714
           File Hash:                                                                 2023
           601590C46BF8607622DB143BC459497E978B52BD64A51B93EFCD3B79227B2442       21:25:48
 6         Info Hash: CAD5D377E18FCABACC5883C25F37A62C72543AC0                      01-29-   Blacked       08-13-2022    08-30-2022   PA0002367729
           File Hash:                                                                 2023
           4E76038637C5F4B344828547C0EF1C3AA1D90A2FA29BFA5261938FEBA02503EE       21:17:55
 7         Info Hash: EC68B457BE349B79829F630F4FF0561C19082BFB                      01-29-   Blacked       09-21-2022    10-05-2022   PA0002373950
           File Hash:                                                                 2023   Raw
           3E9B66923DA29F393FB02A1AE15AA7EBD1EDD0CFA8559E95CB3E61DD0ABF70E8       21:16:55
 8         Info Hash: 05A6931E9044BA7F3C643F698C5CFD742071A83E                      01-29-   Blacked       09-03-2022    11-01-2022   PA0002378069
           File Hash:                                                                 2023
           009B8E5F74858C3059EEBDCF39E519AB6C36919257790A85F128DB6C9CD68B17       20:39:59
 9         Info Hash: 54C1479D392BCF64E2D564E553642C8465CC6665                      01-29-   Blacked       09-01-2022    11-24-2022   PA0002388645
           File Hash:                                                                 2023   Raw
           973A004301BF70665DDFBE0B60D78ACFF38192B4D4A39FA4AFF9C12EE15F0A27       20:37:46
 10        Info Hash: 81DAD957AB34C78773FDF2A383F55B6B0D3318A0                      01-29-   Blacked       09-06-2022    10-05-2022   PA0002373770
           File Hash:                                                                 2023   Raw
           3D0BBB2A6D594F436D705FE878A2BEBE47523F0A27927C6B797BC4AB1143E6B6       20:35:23
 11        Info Hash: D47E01E2CA5037A23C4261C7797EE76B7835A88E                      01-29-   Blacked       10-01-2022    10-31-2022   PA0002377811
           File Hash:                                                                 2023   Raw
           A93CFA441DEEA9ACA5EFC97EA3735CEF22C1180174598230CB1F69A6900B005E       20:34:20
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 08F5E1679A80DB67D5969A52F2173024451310BA                   01-29-   Blacked   09-17-2022   10-05-2022   PA0002373760
       File Hash:                                                              2023
       ECFDDEEA7018AAD90C9B083E1268FCA9C78A2E4E5EF5C08E018366E68033982C    20:33:33
13     Info Hash: D70D2C95E1758D6D0838C13142400443F66F0E51                   01-29-   Blacked   09-10-2022   10-05-2022   PA0002373949
       File Hash:                                                              2023
       8D9CBF0567FDCBF4C4762C68C84376A08B27A8D2CB71B3F37D798FBCA86B7570    20:31:50
14     Info Hash: B674390272370CF8323F32351DA4856AEBE3380B                   01-29-   Blacked   09-11-2022   10-05-2022   PA0002373951
       File Hash:                                                              2023   Raw
       94A0E7F4D8DC7E70A58FE992E42E7EBCE0AB414227D780F76B56D7FD06E9C0D9    20:28:46
15     Info Hash: D595EB5BD188A2A9447FF16D585FA7FF252DF980                   01-29-   Blacked   10-02-2018   10-16-2018   PA0002127785
       File Hash:                                                              2023
       920EA4A449CA035EC66952C02B5BB120EBB6360EED827737253AFD22D632885E    20:27:18
16     Info Hash: 6A657D7A60C3FE65BD5EAC2E480FB8F4B2D3C04E                   01-28-   Blacked   12-24-2022   01-10-2023   PA0002389603
       File Hash:                                                              2023
       154B1A2183857FF6EBFE06F1198699B0CF09D863F9AC6E6693D2B6A2578DA2DA    01:15:21
17     Info Hash: C0A2ECD28E56C3B0C99FFB648519AE03B45CD352                   01-28-   Blacked   01-07-2023   01-27-2023   PA0002393078
       File Hash:                                                              2023
       546410AC2AB27879EB515B7BE995E2B772F4D93C2BAF048BC57CB7DED82661A3    01:13:57
18     Info Hash: 0DA52CD859D8BFB4CE9AEFB0241F8897218FC9BF                   01-28-   Blacked   01-14-2023   01-27-2023   PA0002393084
       File Hash:                                                              2023   Raw
       3106FD3607D7FDFB170BF5EB5D3C039FAF5AB57C47C0133C5154E2B5AF1D8B62    01:13:10
19     Info Hash: 6769AACD544149014C77F4DF9B69B9123840349B                   01-28-   Blacked   01-04-2023   01-10-2023   PA0002389594
       File Hash:                                                              2023   Raw
       AB805E9D70EA32F94041DD337014DDCF0902DE5FA16C0008058C7D461FE59871    01:13:07
20     Info Hash: 4891B2E82A6EEFFBEF043B8C03431E59B95959A1                   01-28-   Blacked   01-09-2023   01-27-2023   PA0002393075
       File Hash:                                                              2023   Raw
       8944359E39663A36899C06437DC61A159EEB33D13E2E56DF88BED1AA57591983    01:12:19
21     Info Hash: A40B0C3EB9A6CE3339EEF19E53EC921FB114CADC                   01-28-   Blacked   01-14-2023   01-27-2023   PA0002393079
       File Hash:                                                              2023
       4A5EEF3F34515B33F8B77BBF9AD9E4F80F20C30F03E96774FC1462C6CD2C9498    01:11:21
22     Info Hash: 3AA641A54A71FAEA40B555A95D1BF02D5FE10A8E                   01-28-   Blacked   01-19-2023   01-27-2023   PA0002393081
       File Hash:                                                              2023   Raw
       3E41C6240B8AC0969A0E8F87E39670850E7914070B2BE05A136B2E19F4E31E3E    01:10:25
23     Info Hash: A9E40993CDF31BB22C8E5F4599B2EF6EE63DAEF7                   01-28-   Blacked   01-24-2023   01-27-2023   PA0002393074
       File Hash:                                                              2023   Raw
       9250EF7FEF4CAA5B5AB85408343C823D459E63E331AFBAEAABDCE9C70F37B245    00:35:10
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: CB4EC1F25FFAD874268462833D653891B9ECD633                   01-27-   Blacked   12-31-2022   01-10-2023   PA0002389580
       File Hash:                                                              2023
       D8422E88707AA9414A70FAA0DD5969D9A5F87EABA6E4F63618174E5384856243    14:29:33
25     Info Hash: F03C19E73FD73E2C5CCBB54751B3325D9C91F2E7                   12-09-   Blacked   10-31-2022   12-11-2022   PA0002384770
       File Hash:                                                              2022   Raw
       AFF28110969937078B94F56371672B60C79C98F9F2B4BB51F76157DEB7F03C9C    18:20:19
26     Info Hash: 2A442D5C97361AE2B519E1E84CF2D052532D5965                   12-09-   Blacked   12-05-2022   01-10-2023   PA0002389624
       File Hash:                                                              2022   Raw
       BE95110B0425CE9A42124B848EE8C8610D0378D97D31B729E6AA2A196A7ED522    18:19:26
27     Info Hash: AA99615AE6C723CB3050DAC4D48D914E6D5CC02F                   11-30-   Blacked   05-17-2018   06-19-2018   PA0002126644
       File Hash:                                                              2022   Raw
       D4777437331085D9F83529F722265DFAD5117630DB84AAE1C0850A6A96FB67CA    23:58:11
